           Case 8:17-cr-00158-DOC Document 12 Filed 11/30/17 Page 1 of 1 Page ID #:43

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                          CRIMINAL MINUTES - GENERAL




 Case No.       SA CR 17-0158-DOC                                                Date     November 30, 2017


 Present: The Honorable                        DAVID O. CARTER, U.S. District Judge
 Interpreter      N/A
                                                                                          Mark Aveis
       Deborah Lewman                        Debbie Gale                                 Paul G. Stern
        Deputy Clerk                   Court Reporter/Recorder                      Assistant U.S. Attorney


U.S.A. v. Defendant(s):       Present Cust. Bond                 Attorneys for Defendants:        Present       App. Ret.

Mina Kolta, aka Matt Kolta         X             X            Michael Nasatir                           X                X



PROCEEDINGS:            ARRAIGNMENT OF DEFENDANT AND ASSIGNMENT OF CASE


         The hearing and transcript are both SEALED.

         Defendant is arraigned.

         Defendant is given a copy of the Information.

         Defendant acknowledges receipt of a copy and waives reading thereof.

         Defendant pleads NOT GUILTY to the single-count Information.

        This case was randomly assigned to District Judge James V. Selna. Pursuant to the rules of this Court,
the case was transferred to District Judge David O. Carter for further proceedings. Refer to Dkt. #6.




                                                                                                            :       05

                                                                       Initials of Deputy Clerk   djl




CR-11 (10/08)                                CRIMINAL MINUTES - GENERAL                                           Page 1 of 1
